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                           Exhibit A
 PARTIES’ PROPOSED CLAIM CONSTRUCTIONS




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                                                    Parties’ Proposed Claim Constructions

                                                    U.S. Patent Nos. 5,715,314 and 5,909,492

          Claim Term, Phrase, or        Constr.
         Clause and Patent(s) and      Requested          Soverain’s Proposed Construction             Defendants’ Proposed Construction(s)
        Claim(s) in which it appears      By
1.    Shopping cart computer           defendants
                                                               Soverain and Newegg adopt the Amazon Markman Order construction
      ’314 patent:
      claims 34, 35, 39, 49, 74, 84,                                       “a computer processing data associated with one
      109, 134, 144                                                                   or more shopping carts”

      ’492 patent:                                                               subject to Newegg’s right of appeal
      claims 17, 18, 35, 36
                                                                                                    Systemax & TigerDirect
                                                                                                    a computer processing data associated with
                                                                                                    one or more shopping carts but is not
                                                                                                    operated by an operator of a merchant
                                                                                                    computer

2.    Shopping cart message            defendants
                                                                    The parties adopt the Amazon Markman Order construction
      ’314 patent:
      claims 34, 39, 84, 144                                                   “a message concerning a shopping cart”
      ’492 patent:                                                            subject to the defendants’ right of appeal
      claims 17, 18, 35, 36




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                                                    U.S. Patent Nos. 5,715,314 and 5,909,492

          Claim Term, Phrase, or         Constr.
         Clause and Patent(s) and       Requested         Soverain’s Proposed Construction         Defendants’ Proposed Construction(s)
        Claim(s) in which it appears       By
3.    Payment message                   defendants a message relating to a payment for one or   a message relating to a payment for one or
                                                   more products                                more products, containing an authenticated
      ’314 patent:                                                                              user’s payment information and sent to the
      claims 34, 35, 39, 49, 74, 109,                                                           buyer computer
      134

      ’492 patent:
      claim 17, 18, 35, 36

4.    To cause said payment             defendants to cause an action associated with said      upon request of the authenticated user, the
      message to be activated to                   payment message to initiate a payment        buyer computer causes the submission
      initiate a payment transaction               transaction                                  of said payment message

      ’314 patent:                                   See term 3
      claims 34, 39

      ’492 patent:
      claim 17, 18, 35, 36




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                                                   U.S. Patent Nos. 5,715,314 and 5,909,492

          Claim Term, Phrase, or        Constr.
         Clause and Patent(s) and      Requested         Soverain’s Proposed Construction         Defendants’ Proposed Construction(s)
        Claim(s) in which it appears      By
5.    A Shopping Cart URL              defendants a URL concerning a shopping cart             a standard HTTP request message send by
                                                                                               the buyer computer to the shopping cart
      ’314 patent:                                                                             computer which causes the shopping cart
      claims 60, 65, 120, 125                                                                  computer to modify content of a shopping
                                                                                               cart and includes URL with a product
                                                                                               identifier, a domain identifier, a payment
                                                                                               amount, a merchant computer identifier, a
                                                                                               merchant account identifier, a duration time,
                                                                                               an expiration time, and a shopping cart URL
                                                                                               authenticator
6.    Hypertext link                   defendants a non-sequential web association which the   text in a document that forms a navigational
                                                  user can use to navigate through related     element pointing, for example, to another
      ’492 patent:                                topics                                       document, or form, or resource
      claim 15, 16

7.    A statement URL                  defendants a URL concerning a statement                 a standard HTTP request message with
                                                                                               URL to the Statement Document including
      ’492 patent:                                                                             its path on the server on which it resides
      claim 41, 76




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                                                      U.S. Patent No. 7,272,639

          Claim Term, Phrase, or      Constr.
          Clause and Patent(s) and   Requested       Soverain’s Proposed Construction              Defendants’ Proposed Construction(s)
          Claim(s) in which it app      By
8.    Service request                defendants
                                                               The parties adopt the Amazon Markman Order construction
      ’639 patent:
      claims 1, 10, 60, 65, 78, 79                 “a solicitation of services from a client to a server. A service request may entail the
                                                         exchange of any number of messages between the client and the server.”

                                                                         subject to the defendants’ right of appeal

9.    Session identifier             defendants
                                                               The parties adopt the Amazon Markman Order construction
      ’639 patent:
      claims 1, 10, 47, 63, 78, 79                                        “a text string that identifies a session”

                                                                         subject to the defendants’ right of appeal

10.   Session                        defendants
                                                               The parties adopt the Amazon Markman Order construction
      ’639 patent:
      claims 1, 10, 47, 63, 78, 79                “a series of requests and responses to perform a complete task or set of tasks between a
                                                                                 client and a server system”

                                                                         subject to the defendants’ right of appeal




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                                                         U.S. Patent No. 7,272,639

          Claim Term, Phrase, or       Constr.
          Clause and Patent(s) and    Requested         Soverain’s Proposed Construction            Defendants’ Proposed Construction(s)
          Claim(s) in which it app       By
11.   the stored session identifier   defendants Plain meaning applies; this term does not       a session identifier that is recorded in
                                                 require construction                            computer storage without other information,
      ’639 patent:                                                                               excluding standard browser formats
      claim 1                                      See terms 9, 10                               common to the Web on or before June 7,
                                                                                                 1995.

12.   subsequent distinct requests    defendants Plain meaning applies; this term does not       every request for a separate and different
                                                 require construction                            service
      ’639 patent:
      claims 1, 79                                 See term 8


13.   Validating, at the server       defendants at the server system, determining the           checking that the session identifier is valid
      system, the appended session               validity of the appended session identifier /   without resort to information stored
      identifier /                                                                               elsewhere, such as in the server system
                                                   determining the validity of the session
      validating the session                       identifier appended to the service request
      identifier appended to the
      service request                              See term 9

      ’639 patent:
      claims 47, 78




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                                                           U.S. Patent No. 7,272,639

          Claim Term, Phrase, or        Constr.
          Clause and Patent(s) and     Requested         Soverain’s Proposed Construction            Defendants’ Proposed Construction(s)
          Claim(s) in which it app        By
14.   A purchase request / a request   defendants One or more messages requesting a               a service request including a user identifier
      for purchase                                purchase                                        in which a buyer initiates a payment
                                                                                                  transaction for product(s) the buyer wishes
      ’639 patent:                                                                                to purchase
      claim 60

15.   Creating, responsive to the      defendants producing, in response to the initial service   creating, based on a type of the first request
      initial service request, the                request, the session identifier                 for service, the session identifier
      session identifier
                                                    See terms 9, 17
      ’639 patent:
      claim 79

16.   Hyperlink                        defendants a non-sequential web association which the      a navigational element pointing, for
                                                  user can use to navigate through related        example, to another document, or form, or
      ’639 patent:                                topics                                          resource
      claim 62

17.   Initial service request          Soverain     the first service request in a session        the first request for service

      ’639 patent:                                  See terms 8, 10
      claims 10, 79

18.   Controlled document              Soverain     a document that can be accessed when one      a document for which authentication is
                                                    or more conditions are met                    required
      ’639 patent:
      claim 47




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